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AO 245 S (RevS e/BO) .D. Ala. rev. ) Sheet 1 - Judgment in a Criminal Case

UNITED STATES DISTRICT COURT study §§
Western District of Tennessee "`“»JS

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23 fnl L§ ¢_+‘_
UNITED STATES OF AMERICA
Plaintiff,

    

VS.

JAMES WILLIAMS
Defendant_

JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or After November 1, 1987)

The defendant, James Williamsr Was represented by Stephen Leffler, Esq.

The defendant, having been convicted of violation of 18 U.S.C. § 922(g), Convicted
Felon in Possession of a Firearm on February 24, 2000, was sentenced to a term of fifty-
seven (57) months in the Bureau of Prisons and a term of three (3) years on Supervise
Release in the above styled cause, has violated the terms of Supervised Release.

It is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed`to the custody of the United States Bureau

of Prisons to be imprisoned for a term of fourteen (14) months.

FURTHERMORE, the Court hereby vacates the previously imposed period of Supervised
Release.

The defendant is remanded to the custody of the United States Marshal.

Signed this the ag § day of June, 2005.

az M°@&Q¢

JON PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

Defendant's SS No.: XXX-XX-XXXX

Defendant's Date of Birch= 04/02/19'72 "\
U. S. Marshal No. 17060- 076 ////
Defendant‘s Mailinq Address: 591 N. Thomas St. . l, Memphis, TN 38105 ' i)

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with Rule 55 and/or 32(h) FRCrP on

 

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Honorable .1 on McCalla
US DISTRICT COURT

